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      GEOFFERY OWEN CASSIDY AND ASIA
  7   AVIATION HOLDINGS PTE. LTD.
  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10

 11   JAMES N.H. SEAGRIM, STEPHEN CASE NO. 2:17-CV-6648 (JAK)
      MATTHEW WALTER, ZETTA
 12   JET PTE. LTD., and ZETTA JET
      USA, INC.                    JOINT STIPULATION TO EXTEND
 13                                TIME TO RESPOND TO INITIAL
                   Plaintiffs,     COMPLAINT IN EXCESS OF 30 DAYS;
 14                                DECLARATIONS OF GEOFFERY O.
        vs.                        CASSIDY AND DOUGLAS R.
 15                                PAINTER
      GEOFFERY OWEN CASSIDY,
 16   MIRANDA JUNE TANG (a/k/a     [Proposed Order filed concurrently
      JUNE TANG KIM CHOO), and     herewith]
 17   ASIA AVIATION HOLDINGS
      PTE. LTD.
 18                                Complaint served (in foreign country):
                   Defendants.     Sept. 23, 2017
 19
                                           Statutory response date: Oct. 16, 2017
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                                           Retention of U.S. litigation counsel: Week
 21                                        of December 4, 2017
 22                                        Stipulated response date: January 15, 2018
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                    JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1                                  JOINT STIPULATION
  2         Pursuant to Local Rule 8-3, Geoffery O. Cassidy (“Cassidy”) and Asia
  3   Aviation Holdings PTE. LTD. (“Asia Aviation”) (collectively “Defendants”), on
  4   the one hand, and Plaintiffs James N.H. Seagrim, Stephen Matthew Walter, Zetta
  5   Jet PTE. LTD. and Zetta Jet USA, Inc. (collectively “Plaintiffs”), on the other hand,
  6   hereby stipulate as follows:
  7         WHEREAS, on September 23, 2017, Cassidy was served (on behalf of
  8   himself and Asia Aviation) in Singapore with the Initial Complaint;
  9          WHEREAS, assuming such service is valid under the Federal Rules,
 10   Defendants’ last day to respond to the Initial Complaint under Rule 12 was October
 11   16, 2017;
 12         WHEREAS, Defendants’ counsel has represented to Plaintiffs’ counsel that:
 13               • Defendants are residents of Singapore and are unfamiliar with U.S.
 14                  legal requirements; they began the search for U.S. litigation counsel
 15                  shortly after service;
 16               • During this time, Cassidy was in the middle of a Singapore divorce
 17                  and custody proceedings with his ex-wife, involved with related
 18                  litigation in Singapore and attempting to monitor related U.S.
 19                  bankruptcy proceedings;
 20               • Because of the above circumstances, it took longer than anticipated for
 21                  Defendants to locate and retain U.S. litigation counsel; Defendants’
 22                  U.S. litigation counsel, the law firm of Steinbrecher & Span LLP, was
 23                  retained the week of December 4, 2017; in addition, Douglas R.
 24                  Painter, lead counsel in the case, booked a family holiday vacation
 25                  several months ago falling in the latter half of December 2017;
 26               • At this time, Defendants’ counsel is considering preparing and filing a
 27                  Motion to Dismiss or Transfer based on lack of jurisdiction and
 28                  venue; they will first need to get up to speed in this matter, which
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                       JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1                involves this Complaint, the related Singapore litigation and U.S.
  2                bankruptcy proceedings;
  3         WHEREAS, details of these facts, as asserted by Defendants, are contained
  4   in the attached Declarations of Geoffery O. Cassidy and Douglas R. Painter, filed
  5   concurrently herewith;
  6         WHEREAS, for the above stated reasons, Defendants’ counsel has requested
  7   from Plaintiffs’ counsel up to and until January 15, 2018 to respond to the Initial
  8   Complaint;
  9         THEREFORE, the parties, through their respective counsel, hereby stipulate
 10   that, subject to the Court’s approval, Defendants shall have up and until January 15,
 11   2018 to answer or otherwise respond to Plaintiff’s Complaint.
 12

 13
      Dated: December 14, 2017               Will S. Skinner
                                             SKINNER LAW GROUP
 14

 15
                                             By: ___/s/Will S. Skinner______________
 16                                                      Will S. Skinner
 17                                          Attorneys for Plaintiffs James N.H. Seagrim,
                                             Stephen Matthew Walter, Zetta Jet PTE.
 18                                          LTD. and Zetta Jet USA, Inc.
 19
      Dated: December 14, 2017               Douglas R. Painter
 20                                          STEINBRECHER & SPAN LLP
 21

 22                                          By: __/s/Douglas R. Painter____________
 23                                                      Douglas R. Painter
                                             Attorneys for Defendants
 24                                          Geoffery O. Cassidy and Asia Aviation
 25                                          Holdings PTE. Ltd.

 26         [Filer attests that all other signatories listed, and on whose behalf the filing
 27   is submitted, concur in the filing’s content and have authorized the filing.]
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                      JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1                    DECLARATION OF GEOFFERY O. CASSIDY
  2         I, Geoffery O. Cassidy, declare as follows:
  3         1.     I am an adult resident of Singapore, citizen of Australia (my
  4   homeland) and a named Defendant in this action. I am also a majority shareholder
  5   and director of the Singapore company Asia Aviation Holdings PTE. LTD. (“Asia
  6   Aviation”), the other remaining Defendant in this action (Asia Aviation and I are
  7   sometimes collectively referred to herein as “Defendants”). I submit this
  8   Declaration in support of the parties’ Joint Stipulation to Extend Time to Respond
  9   to the Initial Complaint. I am familiar with the facts stated herein and if called as a
 10   witness could and would testify competently thereto.
 11         2.     On or around September 23, 2017, in Singapore, I was handed legal
 12   papers, including summonses to Asia Aviation and me, pertaining to this case.
 13         3.     Although I have traveled to the United States and hold dual citizenship
 14   with both Australia and the United States, I have never resided in the United States
 15   as an adult. Rather, the only time I lived in the United States was as a young child
 16   in Michigan (where I was born); I left the United States with my parents at the age
 17   of three and have never resided in the United States since then. Accordingly, I am
 18   unfamiliar with legal procedures or customs in the United States or California and
 19   of the legal significance of a subpoena from a foreign country.
 20         4.     After being handed the above-referenced summonses in Singapore, I
 21   attempted to research possible California lawyers to retain for the purpose of
 22   responding to the Complaint. During this time, I was finalizing a divorce and
 23   custody arrangements in Singapore with my ex-wife, Miranda Tang (a former
 24   Defendant in this action who was recently dismissed), dealing with Singapore
 25   litigation that Asia Aviation filed against three of the four Plaintiffs in this case
 26   (Asia Aviation Holdings, et al. v. Seagrim, et al., Case No. HC/S 864/2017 (High
 27   Court of the Republic of Singapore, September 18, 2017)) and attempting to
 28   monitor the United States bankruptcy proceedings filed by Plaintiffs Zetta Jet Pte.
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                      JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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                    JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1                    DECLARATION OF DOUGLAS R. PAINTER
  2         I, Douglas R. Painter, declare as follows:
  3         1.     I am a member in good standing of the State Bar of California and
  4   admitted to practice before all state and federal courts within the State of
  5   California. I am a member of the law firm of Steinbrecher & Span LLP, specially
  6   appearing counsel for defendants Geoffery Cassidy (“Cassidy”) and Asia Aviation
  7   Holdings PTE. LTD. (“Asia Aviation”) (collectively “Defendants”) in the above-
  8   entitled cause. I submit this Declaration in support of the parties’ Joint Stipulation
  9   to Extend Time to Respond to Initial Complaint. I am familiar with the facts stated
 10   herein and if called as a witness would and could testify competently thereto.
 11         2.     On or around December 4, 2017, my law firm was retained by
 12   Defendants to specially appear to respond to the Complaint in this action that was
 13   apparently served on them in Singapore on or around September 23, 2017. The
 14   events and circumstances between the time of that service and our retention are
 15   described more fully in the Declaration of Geoffery O. Cassidy, attached hereto.
 16         3.     We are currently getting up to speed in this matter, which involves this
 17   case, an ongoing related litigation in Singapore and two bankruptcy filings of the
 18   corporate plaintiffs in this case. At the present time, we are considering preparing
 19   and filing a Rule 12(b) Motion to Dismiss for, among other things, lack of venue
 20   and personal jurisdiction.
 21         4.     I am the primary attorney at my firm handling this matter. Several
 22   months ago, I booked a holiday vacation for my family falling in the latter part of
 23   December.
 24         5.     Because of the above circumstances, the parties have stipulated that,
 25   subject to Court approval, Defendants shall have up to and until January 15, 2018 to
 26   answer or otherwise respond to the Complaint.
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                      JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1         I declare under penalty of perjury that the foregoing is true and correct.
  2         Executed this 15th day of December 2017 at Los Angeles, California.
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                                                    ______/s/Douglas R. Painter___
  5                                                      Douglas R. Painter
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                     JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
